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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


PROXICOM WIRELESS, LLC,

       Plaintiff,

v.                                                              Case No: 6:18-cv-64-Orl-37GJK

MACY’S, INC. and MACY’S FLORIDA
STORES, LLC,

       Defendants.

                                             /

                    ORDER AND NOTICE OF TELEPHONIC HEARING

       This case comes before the Court on Defendants’ motion to compel James A. Proctor, Jr.

(“Proctor”) to be produced for a deposition (the “Motion”), filed on December 3, 2018. Doc. No.

68. On November 1, 2018, Defendants served a Federal Rule of Civil Procedure 30(b)(1) notice

of deposition setting Proctor’s deposition for November 27, 2018. Doc. No. 68-3. On November

21, 2018, pursuant to Plaintiff’s request, Defendants agreed to move the deposition to December

19, 2018. Doc. No. 68-4 at 2. Defendants state that Plaintiff now refuses to produce Proctor for the

deposition unless Defendants also notice him for a Rule 30(b)(6) deposition on that same date and

conduct the Rule 30(b)(1) and Rule 30(b)(6) depositions simultaneously. Doc. No. 68 at 3. The

Court is unaware of any authority supporting this position, which appears to be akin to Plaintiff

controlling Defendants’ discovery. Defendants ask that the Court “issue an order (1) compelling

Mr. Proctor to sit for deposition under Federal Rule of Civil Procedure 30(b)(1); and (2) for an

award of expenses incurred by [Defendants] in bringing this motion, including attorney fees.” Id.
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at 10.

         Accordingly, it is ORDERED as follows:

         1. On or before Thursday, December 6, 2018, Plaintiff shall file its response to the

            Motion;

         2. The Court will hold a telephonic hearing on the Motion on Tuesday, December

            11, 2018, at 1:30 p.m. in Courtroom No. 3C. The parties shall arrange to place a joint

            telephone call on a single telephone line to 407-835-3825 ten minutes before the

            hearing is scheduled to begin; and

         3. If the parties resolve the issues raised in the Motion prior to December 11, 2018,

            they shall promptly file a notice with the Court.

         DONE and ORDERED in Orlando, Florida on December 4, 2018.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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